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Attorney for Plaintiff


                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

FELISHA L. LASHLEY,               )
                                  )
      Plaintiff,                  )
                                  )
v.                                )
                                  )
HORACE MANN TEACHERS              )
INSURANCE, INC.,                  )
                                  )
      Defendant.                  ) Civil Action No. 3:12-CV-00197-RRB
_________________________________ )

                     STIPULATION TO DISMISS ACTION


        COMES NOW the parties, Felisha Lashley and Horace Mann Teachers

Insurance Inc., by and through their counsels of record and hereby stipulates to

dismiss this cause of action. The parties have resolved this case and agreed to a

settlement. Counsel for Horace Mann agrees to the dismissal on behalf of Horace

Mann.




_________________________________
STIPULATION TO DISMISS ACTION
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        DATED this 14th day of May 2013.

                                                   By: /s/ Herman G. Walker, Jr.
                                                   Attorney for Plaintiff
                                                   606 E Street, Suite 203
                                                   Anchorage, Alaska 99501
                                                   hermanjr@limonwalker.com
                                                   Phone: (907) 279-2889
                                                   ABA#9311094
         CERTIFICATE OF SERVICE
The undersigned hereby certifies that on
___________, 2013 a true and correct copy of
this document and the attachments were served
electronically upon the follow counsel of record

Blake H. Call
Call, Hanson, & Kell
413 G Street
Anchorage, AK 99501
bhc@ckhlaw.net

/s/ Herman G. Walker 05/14/13_




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